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USDC SDNY
UNITED STATES DISTRICT COURT DOCUMENT
SOUTHERN DISTRICT OF NEW YORK ELEC TRONICALLY FILED
GEMSTONE GROUP, LLC, DOC #:
DATE FILED: _ 11/5/2020
Plaintiff,
-against- 20 Civ. 6567 (AT)
KASA LIVING, INC.., ORDER
Defendant.

 

 

ANALISA TORRES, District Judge:

Having reviewed the parties’ letters dated October 30, 2020, and November 3, 2020, ECF
Nos. 22, 23, the Court ORDERS that:

1. By December 9, 2020, Defendant shall file their motion to dismiss;

2. By December 29, 2020, Plaintiff shall file their opposition papers; and
3. By January 12, 2021, Defendant shall file their reply, if any.

SO ORDERED.

Dated: November 5, 2020
New York, New York

On-

ANALISA TORRES
United States District Judge
